    Case 1:12-cr-00258-RJA-HKS          Document 56    Filed 11/19/13    Page 1 of 14




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                           Plaintiff,

             v.                                                 12-CR-258A

TIMOTHY MCCABE,

                     Defendant.
_____________________________________

                                DECISION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. #24.



                             PRELIMINARY STATEMENT

             The defendant, Timothy McCabe (“McCabe”), along with his wife, Theresa

Morales, is charged in a nine-count, Superseding Indictment (Dkt. #45) with bank fraud

and conspiracy to commit bank fraud. Presently pending is McCabe’s omnibus

discovery motion. Dkt. #48. Also pending are McCabe’s motions to sever counts and

to sever from co-defendant Morales, as well as a motion to dismiss for improper venue.

This Court’s Report, Recommendation and Order on defendant McCabe’s motion to

dismiss will be filed separately. What follows is this Court’s Decision and Order

addressing defendant McCabe’s non-dispositive omnibus discovery motion.
    Case 1:12-cr-00258-RJA-HKS         Document 56     Filed 11/19/13   Page 2 of 14




                             DISCUSSION AND ANALYSIS

Brady Material

              Within his broad request labeled “Brady Material,” the defendant seeks

the immediate disclosure of any material that is favorable to the defendant. Dkt. #48,

pp.14-16. The defendant also seeks all “potentially favorable evidence, including, but

not limited to: statements, Grand Jury testimony, witnesses, books, papers, reports,

photographs, handwritten notes, synopses of statements made by witnesses, or any

other tangible items of evidence in the custody and control of the government . . .” Dkt.

#48, ¶33. Moreover, the defendant seeks exculpatory and/or impeaching material in

the government’s possession, custody and control. Thus, the Court will treat this

request principally as one for Brady and Giglio material. In its response the government

states,

              [t]he Government acknowledges its affirmative and
              continuing duty to provide a defendant with exculpatory
              evidence, under the authority of Brady, as well as evidence
              that the defense might use to impeach the government’s
              witnesses at trial. . . . In the instant case, the government
              agrees to provide impeachment Brady material, i.e.,
              promises of leniency or immunity agreements with
              government witnesses, plea and/or non-prosecution
              agreements and letters or memorandum of understanding
              regarding such, criminal arrest records of all prosecution
              witnesses, immoral, vicious or criminal acts committed by
              witnesses, prior inconsistent statements, and payments to
              witnesses or family members thereof, and all other promises
              or considerations given by government personnel to
              government witnesses or family members thereof, in
              accordance with the schedule set by the District Court prior
              to trial and no later than when the government produces and
              delivers the Jencks Act material in this case.

Dkt. #51, pp.5 and 7 (internal citations omitted).


                                            -2-
    Case 1:12-cr-00258-RJA-HKS           Document 56    Filed 11/19/13    Page 3 of 14




              “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

United States v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001). The prosecution is obligated

to disclose and turn over Brady material to the defense “in time for its effective use.” Id.

at 144. With respect to impeachment material that does not rise to the level of being

Brady material, such as Jencks statements, the prosecution is not required to disclose

and turn over such statements until after the witness has completed his/her direct

testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2; In re United States, 834 F.2d

283 (2d Cir. 1987). However, if the government has adopted a policy of turning such

materials over to the defendant prior to trial, the government shall comply with that

policy; or in the alternative, produce such materials in accordance with the scheduling

order to be issued by the trial judge.



              Based on the representations made by counsel for the government as to

its obligations under Brady and Giglio, the defendant’s request is denied, but the

government is hereby directed to comply with the Second Circuit Court of Appeals’

holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v.

Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those materials

to the defendant.




                                             -3-
    Case 1:12-cr-00258-RJA-HKS        Document 56       Filed 11/19/13   Page 4 of 14




3500 Material

              By this request, the defendant seeks the early disclosure of witness

statements pursuant to Title 18, United States Code, Section 3500. Dkt. #48, pp.17-18.

Specifically, the defendant states,

              39. The trial of this case will involve thousands of
              documents.

              40. With that in mind, we respectfully ask that the Court
              order the government to immediately prepare an exhibit list
              so that counsel for both sides can prepare for the case and
              be ready for trial when the time comes. While the defense
              has thousands of pages of discovery at the present time, in
              preparation for trial, it will have to go through those pages
              with whatever markings they have on them. If a week before
              trial, all those pages have to be remarked because of the
              government’s exhibit list, it will take weeks to get that
              straightened out.

              42. The defendant requests the Court to order the
              government to deliver to the defendant immediately, but in
              no event not later than four weeks prior to the date of the
              trial, the following:

                     a.     Any statement, however taken or recorded, or
                            a transcription thereof, if any, made by the
                            witness(es) to a Grand Jury;

                     b.     Any written statement made by a witness that
                            is signed or otherwise adopted or approved by
                            the witness;

                     c.     Any stenographic, mechanical, electrical, or
                            other recording or a transcription thereof,
                            which is a substantially verbatim recital of an
                            oral statement made by the witness and
                            recorded contemporaneously with the making
                            of such oral statement;

                     d.     Any and all rough notes of witness interview(s)
                            taken or obtained in any investigation of the
                            defendant including Federal, State, Local, and

                                            -4-
    Case 1:12-cr-00258-RJA-HKS         Document 56      Filed 11/19/13    Page 5 of 14




                            other investigations whether or not the
                            contents thereof have been incorporated in
                            official records;

                     e.     Any notes and memoranda made by
                            government counsel during the interviewing of
                            any witness intended to be called by the
                            government in their direct case. Goldberg v.
                            United States, 425 U.S. 94, 101-108 (1976);

                     f.     All surveillance reports made or adopted by a
                            witness. United States v. Petito, 671 F.2d 68,
                            73 (2d Cir. 1932)[sic].

Dkt. #48, ¶¶ 39, 40 and 42.



              With respect to defendant McCabe’s request for the early disclosure of

Jencks Act material, the government states that it will provide all the material required

to be disclosed pursuant to Title 18, United States Code, Section 3500, no later than

two weeks prior to trial or as ordered by the District Judge. Dkt. #51, p.8. The

government states that it has previously disclosed “the sum and substance of the

statements made by various witnesses with regard to this case, exclusive of grand jury

testimony. The grand jury testimony involved in this case will be provided to the

defendant at the time noted above, pursuant to Title 18, United States Code, Section

3500.” Id. In addition, the government agrees to disclose written statements of

witnesses and investigative agency or police department memoranda of interviews of

witnesses as required by Title 18, United States Code, Section 3500. Id. With respect

to rough notes, to the extent any exist, the government agrees to endeavor to maintain

such records, but states that no such basis for disclosure exists at this time. Id. Finally,

the government states that “the voluminous discovery for this case has been provided

                                            -5-
    Case 1:12-cr-00258-RJA-HKS          Document 56      Filed 11/19/13   Page 6 of 14




to defense counsel in a searchable, well-organized format. The government declines to

prepare a final exhibit list at the present time, and will comply with the scheduling order

set by the District Court with respect to this issue.” Id.



               As noted above, with respect to impeachment material that does not rise

to the level of being Brady material, such as Jencks statements, the prosecution is not

required to disclose and turn over such statements until after the witness has

completed his direct testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2; In re

United States, 834 F.2d 283 (2d Cir. 1987). However, if the government has adopted a

policy of turning such materials over to the defendant prior to trial, the government shall

comply with that policy; or in the alternative, produce such materials in accordance with

the scheduling order to be issued by the trial judge.



              Based on the representations made by counsel for the government, that it

will comply with the trial judge’s pretrial order concerning the disclosure of witnesses’

statements and the preparation of an exhibit list, the defendant’s requests are denied.

Notwithstanding the foregoing, the government is hereby directed to comply with the

Second Circuit Court of Appeals’ holding in United States v. Coppa, 267 F.3d 132 (2d

Cir. 2001) and United States v. Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making

timely disclosure of those materials to the defendant.




                                             -6-
    Case 1:12-cr-00258-RJA-HKS        Document 56       Filed 11/19/13    Page 7 of 14




Statements of the Defendant

              Under the heading “Statements of the Defendant,” defendant McCabe

seeks copies of any statements made by the defendant, including, written or recorded

statements, any written record of any oral statement, any grand jury testimony, and any

other statement made before or after arrest in response to interrogation by a

government agent. Dkt. #48, ¶45. In its response, the government states,

              All written and recorded statements of the defendant have
              been provided, as well as the substance of any oral
              statements made by the defendant before and after arrest in
              response to interrogation by any persons known to the
              defendant to be a government agent. The government will
              not provide other materials requested, unless specifically
              agreed to, since the information sought is outside the
              purview of Rule 16.

Dkt. #51, p.9. Based on the representations made by the government that all written

and recorded statements of the defendant have been provided, the defendant’s request

is denied as moot.



Expert Disclosure

              The defendant requests that the government provide a written summary of

any testimony the government intends to use pursuant to Rules 702, 703 and 705 of

the Federal Rules of Evidence. Dkt. #48, ¶¶47-48. In its response, the government

states that it will comply with the defendant’s requests for notice of expert testimony

pursuant to Rule 16(a)(1)(G) of witnesses who will testify pursuant to Rules 702, 703

and 705 of the Federal Rules of Evidence. Dkt. #51, p.9. Based on the

representations made by the government, defendant’s request is denied as moot.


                                            -7-
    Case 1:12-cr-00258-RJA-HKS         Document 56      Filed 11/19/13     Page 8 of 14




Other Crime Evidence

              By this request, the defendant states,

              If the government intends to put in proof of any other crime
              evidence, or any other bad act evidence, we ask that the
              government provide it at this time, so it can be addressed
              pretrial. Pursuant to Rules 12(b)(4), (d)(1) and (2) of the
              Federal Rules of Criminal Procedure, and Rules 104(a) and
              404(b) of the Federal Rules of Evidence, the defendant
              respectfully requests that the government notify the
              defendant of any evidence that the government contends
              would be admissible under Rule 404(b) of the Federal Rules
              of Evidence.

Dkt. #48, ¶49. In addition, the defendant requests pretrial disclosure of any other

evidence the government intends to use to impeach the defendant’s credibility should

he choose to testify. Id. at ¶50. In its response, the government states,

              By way of discovery in this case, the defendants have been
              provided with the indication that the government’s intention
              is to offer proof that these activities are such crimes, wrongs
              or acts which the government intends to introduce during its
              direct case at trial. It is the government’s position that such
              proof is relevant and admissible pursuant to Rule 404(b), as
              well as pursuant to normal evidentiary considerations
              concerning proof of the crime charged in the Indictment. . . .
              The District Court judge assigned in this case typically
              requires such disclosure by a date certain prior to trial. The
              United States will provide notification of any Rule 404(b)
              evidence it intends to introduce at trial well in advance of
              trial. The trial in this matter, however, has not yet been
              scheduled.

Dkt. #51, p.10.



              Rule 404(b) only requires that “the prosecution. . . provide reasonable

notice in advance of trial. . . of the general nature of any such evidence it intends to

introduce at trial.” (Emphasis added). Insofar as the government has indicated that it

                                             -8-
    Case 1:12-cr-00258-RJA-HKS             Document 56   Filed 11/19/13   Page 9 of 14




intends to comply with any pretrial disclosure order entered by the trial judge and

further, that it understands its disclosure obligations, defendant’s request is denied as

moot. The Court notes that the issue of admissibility of such evidence pursuant to

Rules 403 and 404(b) of the Federal Rules of Evidence is best left to the determination

of the trial judge at the time of trial.



               With respect to the defendant’s request pursuant to Rule 608, Rule 608

does not contain the same pretrial notice as set forth in Rule 404(b). Therefore, there is

no requirement on the part of the government to make any disclosure of evidence, or its

intent to use evidence at the trial pursuant to Rule 608 at this time. Therefore,

defendant’s request in this regard is denied. With respect to the defendant’s request

pursuant to Rule 609, based on the representations made by counsel for the

government, defendant’s request is denied as moot. The government is hereby

reminded that should the government learn of evidence of other crimes, wrongs and

acts it intends to offer pursuant to Federal Rules of Evidence Rules 608 and 609

(impeachment material) during the trial, the government is hereby directed to provide

such information consistent with its disclosure of Jencks Act material and the disclosure

requirements set by the trial judge in advance of the trial. Accordingly, based on the

representations made by the government, the defendant’s requests are denied as

moot.




                                               -9-
   Case 1:12-cr-00258-RJA-HKS         Document 56      Filed 11/19/13    Page 10 of 14




List of Proposed Witnesses

              Citing the volume of documents and the potential number of witnesses

expected to be involved in the trial of this matter, the defendant requests the

government to provide a list of proposed witnesses. Dkt. #48, ¶54. In its response, the

government declines to provide the names of potential witnesses at trial because Rule

16 does not require such disclosure prior to trial. Dkt. #51, p.11. The defendant’s

request for the disclosure of the identity of the government’s potential witnesses who

will testify at trial is denied because Fed.R.Crim.P. 16 does not require such disclosure

and defendant McCabe has offered no “particularized showing of need” for same. See

United States v. Hennings, No. 95-CR-0010A, 1997 WL 714250, at *13; United States

v. Bejasa, 904 F.2d 137, 139 (2d Cir.), cert. denied, 498 U.S. 921 (1990); United States

v. Johnson, No. 92-CR-39A, 1994 WL 805243 (W.D.N.Y. May 26, 1995), aff’d, 108

F.3d 1370 (1997); United States v. Pastor, 419 F. Supp. 1318, 1320 (S.D.N.Y. 1975).



Preservation of Rough Notes and Other Evidence

              By this request, the defendant seeks an Order from this Court requiring

all government agents and officers who participated in this investigation to retain and

preserve all rough or handwritten notes taken as part of their investigation, regardless

of whether or not the contents of the notes are incorporated in official records. Dkt.

#48, ¶55. In addition, the defendant also requests an Order from this Court directing

the government to preserve and protect from destruction, alteration, mutilation or

dilution any and all evidence acquired in their investigation of defendant. Id. at ¶57. In



                                           -10-
   Case 1:12-cr-00258-RJA-HKS         Document 56      Filed 11/19/13     Page 11 of 14




its response, the government states, “regarding rough notes, should any exist, no such

basis exists at this time for providing the requested materials. The government will

endeavor to maintain such materials, should they exist.” Dkt. #51, p.8.



              Although perhaps unnecessary, based on the representations made by

counsel for the government concerning its acknowledgment of its obligation and its

agreement to instruct the agents to retain and preserve rough notes, the express

admonition of the Court of Appeals for the Second Circuit bears repeating in addressing

this particular request of the defendant wherein the Court stated:

              [W]e will look with an exceedingly jaundiced eye upon future
              efforts to justify non-production of a Rule 16 or Jencks Act
              “statement” by reference to “departmental policy” or
              “established practice” or anything of the like. There simply is
              no longer any excuse for official ignorance regarding the
              mandate of the law. Where, as here, destruction is
              deliberate, sanctions will normally follow, irrespective of the
              perpetrator’s motivation, unless the government can bear
              the heavy burden of demonstrating that no prejudice
              resulted to the defendant. . . . We emphatically second the
              district court’s observation that any resulting costs in the
              form of added shelf space will be more than
              counterbalanced both by gains in the fairness of trials and
              also by the shielding of sound prosecutions from
              unnecessary obstacles to a conviction.

United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976). Accordingly, the government is hereby directed to maintain and preserve all

materials that are known by the government to exist, that constitute potential Jencks Act

material in this case.

                                           -11-
   Case 1:12-cr-00258-RJA-HKS        Document 56      Filed 11/19/13    Page 12 of 14




Leave to Make Further Motions

             By this request, the defendant, “reserves the right to make further motions

as the factors and evidence emerge through requested disclosure.” Dkt. #48, ¶58.

Subject to the limitation contained in the aforesaid quotation, the defendant’s request to

make further and additional motions that may be necessary is granted.



Joinder

             Finally, defendant McCabe seeks to join in the motions filed by co-

defendant Morales to the extent such motions are applicable to him. This request is

granted with the further directive and finding that the decision made by this Court as to

the co-defendant’s requests contained in the omnibus motion in which this defendant

joins, shall also be deemed to be the finding and Order of this Court as to the defendant

herein.



Motions for Severance

             By this request, defendant McCabe seeks severance of Counts 1-7 from

Counts 8 and 9 of the Superseding Indictment. In addition, defendant McCabe also

seeks severance from his co-defendant, Theresa Morales. Dkt. #48, pp.9-14. In

support of his request for the severance of counts, defendant McCabe cites the

prejudicial spillover effect from the other counts. With respect to the severance from

his co-defendant, defendant McCabe states that the defendants will have antagonistic

defenses. A Decision and Order on defendant McCabe’s motions to sever is left to the



                                           -12-
   Case 1:12-cr-00258-RJA-HKS         Document 56       Filed 11/19/13    Page 13 of 14




discretion of the District Judge to whom this case is assigned, District Judge Richard J.

Arcara.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the



                                            -13-
   Case 1:12-cr-00258-RJA-HKS        Document 56      Filed 11/19/13   Page 14 of 14




portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       Buffalo, New York
             November 18, 2013


                                         s/ H. Kenneth Schroeder, Jr.
                                         H. KENNETH SCHROEDER, JR.
                                         United States Magistrate Judge




                                          -14-
